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                        UNITED STATES DISTRICT COURT

                             DISTRICT OF MINNESOTA

 IN RE PORK ANTITRUST                                Case No. 18-cv-1776 (JRT/HB)
 LITIGATION
                                                     Motion for Final Approval of Class
                                                     Action Settlement Between the
 This Document Relates To:                           Commercial and Institutional
                                                     Indirect Purchaser Plaintiffs and
 COMMERCIAL AND                                      Defendant JBS
 INSTITUTIONAL INDIRECT
 PURCHASER PLAINTIFF ACTION




       Commercial and Institutional Indirect Purchaser Plaintiffs respectfully move the Court

for final approval of the class action settlement between Commercial and Institutional Indirect

Purchaser Plaintiffs and Defendants JBS USA Food Company, JBS USA Food Company

Holdings, and Swift Pork Company. This motion is based on Federal Rule of Civil Procedure

23, the concurrently filed Memorandum of Law and supporting declarations, and all other

evidence and arguments presented in the briefings and at the hearing on this motion.

Dated: October 20, 2021                    Larson · King, LLP


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